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14                                UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                   SAN FRANCISCO DIVISION

17 UNITED STATES OF AMERICA,                        Case No. 3:20-CR-00249-RS-LBx

18                 Plaintiffs,                      DEFENDANT ROWLAND MARCUS
                                                    ANDRADE’S RESPONSE TO THE
19          v.                                      COURT’S QUESTIONS ABOUT
20 ROWLAND MARCUS ANDRADE,                          REDACTED MATERIAL SUPPORTING
                                                    MOTION TO COMPEL AND ABOUT
21                 Defendants.                      ADDITIONAL BRIEFING, AND REQUEST
                                                    FOR HEARING
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     DEFENDANT’S RESP. TO THE COURT’S QUESTIONS ABOUT                     CASE NO. 3:20-CR-00249
     REDACTED MATERIAL SUPPORTING MTC AND ADDT’L BRIEFING
     Case 3:20-cr-00249-RS              Document 143            Filed 02/15/23         Page 2 of 4




 1           Defendant Marcus Andrade submits this response to the Court’s questions, raised at the
 2 discovery hearing on February 9, 2023, about (1) whether the defendant should consider

 3 unsealing portions of the declaration filed in support of his motion to compel to help the

 4 government understand the relevance of his pending discovery request for materials relating to

 5 Erickson, Butina, and Levin, and (2) whether the defendant would like to file an additional brief

 6 in light of the production of new material after his brief in support of his motion to compel was

 7 filed on November 23, 2022.

 8 I.        DISCLOSURES OF EVIDENCE SUPPORTING DEFENDANT’S REQUEST FOR
             MATERIALS RELATING TO ERICKSON, BUTINA, AND LEVIN
 9

10           In response to the government’s statement that it could not understand the relevance of
11 Maria Butina, Paul Erickson and Alexander Levin to Mr. Andrade’s case because Mr. Andrade’s

12 brief in support of his motion to compel, and Ms. Dent’s supporting declaration, were redacted,

13 the Court queried whether the Defendant should consider unsealing portions of the declaration.

14 The defense has done so and determined that it has nothing more to share with the government

15 because it already has provided the government with all of the evidence it relies on to support its

16 request for materials relevant to Butina, Erickson, and Levin. Because of the importance of these

17 materials to Mr. Andrade’s defense, every document important to the argument he made to the

18 court about the relevance to this case of Butina, Erickson and Levin was identified for the

19 government and discussed with the prosecutors multiple times, in meet-and-confer sessions with

20 the government before and after his motion was filed, as well as in the joint letter to the court

21 dated February 3, 2023.1

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26
     1 Defense counsel discussed with the government the evidence supporting requests for materials relating to Butina,
27 Erickson, and Levin: during an October 1 meet and confer; in an October 14 letter; at this Court’s December 22
     hearing; and in a January 2023 meet-and-confer.
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                                                      2
     DEFENDANT’S RESP. TO THE COURT’S QUESTIONS ABOUT                                         CASE NO. 3:20-CR-00249
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     Case 3:20-cr-00249-RS          Document 143         Filed 02/15/23    Page 3 of 4




 1          Thus, the documents necessary to understand the pending set of discovery requests are all
 2 currently known to, and possessed by (and were in fact produced by), the government:

 3
                 Exhibit 11, a 302 produced by the government, which is a partial review of
 4                evidence from one of Abramoff’s cell phones, establishes that Levin
 5                communicated with Abramoff frequently during the relevant timeframe, that
                  Abramoff introduced Levin to AML Bitcoin, and that Levin’s payments to
 6                Abramoff for his consulting services were paid into the same Landfair Capital
                  account controlled by Abramoff, funded in part by Erickson, and used for AML
 7                Bitcoin’s transactions and purchases of its tokens.
 8               Exhibit 21, a recording produced by the government, reflects that FBI agents
 9                seized documents relating to AML Bitcoin from Butina’s home in an August 2018
                  search.
10
                 Exhibit 34, a summary of Abramoff’s proffer interview which, among other
11                things, indicates the AML Bitcoin-related television show under production by
                  Abramoff involved Levin in its funding and planning stages.
12
            Lastly, after the December 22 hearing, the government produced the AML Bitcoin
13
     documents that agents found in Butina’s home, which the government advised included
14
     extensive notes in Erickson’s handwriting, which (together with other evidence) show, among
15
     other things, Erickson’s abiding attention to AML Bitcoin, his recognition of the value of its
16
     patented biometric identification verification technology, and his plan to meet with Abramoff
17
     about it behind Mr. Andrade’s back. This exhibit, too, was discussed at length with the
18
     government after it was produced (including a reading and explanation of the important
19
     passages), and before the February 9, 2023 hearing, the defense filed an Administrative Motion
20
     to include this exhibit in the record, under seal, as Exhibit 44.
21
            As a result, there are no secrets from the government concerning the request currently
22
     before the Court.
23
     II.    ADDITIONAL BRIEFING AND A HEARING
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25          Mr. Andrade appreciates the Court’s willingness to review the declaration in support of
26 his motion to compel, but as noted in the hearing on February 9, his argument has become

27 stronger in light of the government’s production of the Butina documents on January 4, 2023

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     DEFENDANT’S RESP. TO THE COURT’S QUESTIONS ABOUT                            CASE NO. 3:20-CR-00249
     REDACTED MATERIAL SUPPORTING MTC AND ADDT’L BRIEFING
     Case 3:20-cr-00249-RS         Document 143        Filed 02/15/23     Page 4 of 4




 1 (after 10 months of its insistence that it was irrelevant and was simply an example of Mr.

 2 Andrade’s requesting discovery based only on conspiracy theories). Mr. Andrade would like to

 3 address the new material, as well as other concerns raised by the Court at the conclusion of the

 4 hearing. He therefore accepts the court’s offer of filing an additional brief, and he is meeting and

 5 conferring with the government on a briefing schedule to propose to the court. The schedule will

 6 include a proposed hearing date, and Mr. Andrade asks if the court will allow an hour for

 7 argument on Mr. Andrade’s request for evidence that is essential to the preparation of his

 8 defense.

 9

10                                                   RESPECTFULLY SUBMITTED,
11
     DATED: February 15, 2023                        KING & SPALDING LLP
12

13
                                                     By: /s/ Michael J. Shepard
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                                                         KERRIE C. DENT (Pro Hac Vice)
15                                                       CINDY DIAMOND
16
                                                          Attorneys for Defendant
17                                                        ROWLAND MARCUS ANDRADE
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     DEFENDANT’S RESP. TO THE COURT’S QUESTIONS ABOUT                           CASE NO. 3:20-CR-00249
     REDACTED MATERIAL SUPPORTING MTC AND ADDT’L BRIEFING
